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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE

         LAURA O’SULLIVAN, et al.,                     )
                                                       )
                        Plaintiffs,                    )
                                                       )       C.A. No. 1:20-cv-00821-LFR
                v.                                     )
                                                       )       JURY TRIAL DEMANDED
         NEW CASTLE COUNTY, et al.,                    )
                                                       )
                        Defendants.                    )
                                                       )

                                        STIPULATION OF DISMISSAL

                Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiffs voluntarily dismiss their

         claims in this action against Defendants Matthew Meyer, Vaughn M. Bond, J., Vanessa S.

         Phillips, and Michael Hojnicki, in their individual capacity, with prejudice. The parties, through

         their undersigned counsel, further stipulate that each party is to bear its own costs, expenses and

         attorneys’ fees.


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                                                                      & TAYLOR, LLP

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                                                                      County, Matthew Meyer, Vaughn M.
                                                                      Bond, Jr., Vanessa S. Phillips, and
                                                                      Michael Hojnicki
         Dated: January 26, 2022

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              SO ORDERED this ____ day of ______________, 2022.

                                                ________________________________
                                                The Honorable L. Felipe Restrepo
                                                United States Circuit Court Judge




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